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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     U.S. EQUAL EMPLOYMENT               CV 21-7682 DSF (JEMx)
     OPPORTUNITY COMMISSION,
           Plaintiff,                    ORDER RE EX PARTE
                                         APPLICATION TO SHORTEN
                     v.                  TIME TO FILE MOTION TO
                                         INTERVENE (Dkt. 13)
     ACTIVISION BLIZZARD, INC.,
     etc.,
           Defendants.



       A motion to intervene may be filed as a regularly noticed motion.
    The EEOC and DFEH are ordered to meet and confer concerning an
    appropriate briefing schedule no shorter than the schedule provided in
    the Local Rules of the Central District of California.



       IT IS SO ORDERED.



     Date: October 11, 2021             ___________________________
                                        Dale S. Fischer
                                        United States District Judge
